      Case 2:15-cr-00027-LGW-BWC Document 96 Filed 01/14/16 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION


UNITED STATES OF AMERICA                       :
                                               :
                 v.                            :   CASE NO.: 2-15-cr-27
                                               :
WILLIAM HARRELL                                :


                                             ORDER

       The Court has been advised that all motions filed in this case as to Defendant William

Harrell have been resolved by the parties.

       Accordingly, all such resolved motions are hereby DISMISSED as moot.


       SO ORDERED this 14th day of January, 2016.


                                               _____________________________________
                                               R. STAN BAKER
                                               UNITED STATES MAGISTRATE JUDGE
                                               SOUTHERN DISTRICT OF GEORGIA
